Case 2:03-CV-02965-SHI\/|-tmp Document 61 Filed 06/16/05 Page 1 of 2 Page|D 68

 

IN THE UNITED sTATEs DISTRICT COURT FWEDE“
FoR THE WESTERN DISTRICT oF TENNESSEE

 

WESTERN DIvIsION OS.HMJIE PH B¢MU
HOBEHFrm MleJUC
ABDISITAR JAMA' v‘§.‘§[”‘§z=l~“§»§; W§'¢TS
Plaintiff,
v. No. 03-2965-Map

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER GRANTING PERMISSION 'l‘O F‘ILE REPLY

 

Before the court is the June 15, 2005, motion of the
defendant officers to ascertain the status of their May l6, 2005,
motion {docket entry no. 57) for leave to file a reply to
plaintiff's response to their motion for summary judgment. The
motion to file reply Was inadvertently not brought before the
court until the filing of the June l5, 2005, motion to ascertain
status. For good cause shown, the motion is granted and the
reply Which Was stamped “Received" by the clerk On May 16, 2005,
(attached to the motion for leave to file reply) is deemed filed
as of that date.

lt is so ORDERED this /k(t`day of June, 2005.

JM’“"-`

SAMUEL H. MAYS, JR.
Ul\TITED S'I‘ATES DISTRICT JUDGE

 

Th!s document entered on the docket sheet in compliance

with sum 58 and/or 79(3) FHCF en 55 ~[ 7’05

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:03-CV-02965 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

